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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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CAMBRIDGE VALLEY MACHINING, INC.,

                                 Plaintiff,

      -v-                                             1:18-CV-1022
                                                      (DNH/CFH)

HUDSON MFG LLC; BILLIE HUDSON III; and
LAUREN HUDSON,

                                 Defendants.

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APPEARANCES:                                          OF COUNSEL:

BOIES, SCHILLER & FLEXNER LLP                         ADAM R. SHAW, ESQ.
Attorneys for Plaintiff                               JOHN F. DEW, ESQ.
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DAVID N. HURD
United States District Judge

                                              ORDER

      Plaintiff Cambridge Valley Machining Inc. brought suit against defendants Hudson

MFG LLC, Billie Hudson III, and Lauren Hudson alleging breach of contract and other claims

under the Uniform Commercial Code. Pursuant to the oral decision of the Court, entered into

the record after hearing oral argument on November 26, 2018, in Utica, New York, it is

hereby
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       ORDERED that

       1. Defendants' motion to dismiss, for improper venue, or to change venue is DENIED;

and

       2. Defendants are directed to answer the Amended Complaint on or before

December 17, 2018.

       IT IS SO ORDERED.




Dated: November 26, 2018
       Utica, New York.




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